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                                UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

  In re:                           § Chapter 11
                                   §
  NEIGHBORS LEGACY HOLDINGS,       § Case No. 18-33836
  LLC,                             §
                                   §
        Debtors.                   §
                                   §
  INFINITY EMERGENCY               §
  MANAGEMENT GROUP, LLC            §
                                   § Adv. No. 18-______________
       Plaintiff,                  §
                                   §
  v.                               § Removed from the 269th Judicial District
                                   § Court for Harris County, Texas
  NEIGHBORS HEALTH SYSTEM, INC., § Cause No. 2017-73050
  NEIGHBORS HEALTH, LLC,           §
  NEIGHBORS INVESTMENT GROUP,      §
  LLC, NEIGHBORS GP, LLC, SETUL G. §
  PATEL, M.D., PAUL ALLEYNE, M.D., §
  MICHAEL CHANG, M.D., ANDY        §
  CHEN, M.D., CYRIL GILLMAN, M.D., §
  QUANG HENDERSON, M.D.,           §
  DHARMESH PATEL, M.D., AND        §
  HITESH PATEL, M.D.               §
                                   §
       Defendants.                 §

                                          INDEX OF MATTERS

No.    Document                                                                                     Date Filed
 1.    Harris County Docket Sheet.
 2.    Suggestion of Bankruptcy.                                                                    7/17/2018
 3.    Neighbors’ Response to Plaintiff’s First Amend Motion to Compel Defs’ Discovery Responses.   6/21/2018
 4.    Proposed Order Plaintiff’s First Amended Motion Compel Defendants’ Discovery Responses.      6/21/2018
 5.    Plaintiff’s First Amended Motion Compel Defendant’s Discovery Responses.                     6/18/2018
 6.    Notice of Hearing – Plaintiff’s First Amended Motion Compel.                                 6/18/2018
 7.    Proposed Order.                                                                              6/18/2018
 8.    Order signed Substituting Counsel for Defendant Setul Patel.                                 6/18/2018
 9.    Plaintiff’s Motion Compel Defendant’s Discovery Responses.                                   6/15/2018
 10.   Proposed Order.                                                                              6/15/2018
 11.   Notice of Hearing.                                                                           6/15/2018
 12.   Unopposed Motion to Substitute Counsel for Defendant Setul Patel.                            6/12/2018
 13.   Proposed Order.                                                                              6/12/2018
 14.   Order signed granting Defendants P. Alleyne, M.D. and C. Gillman’s Motion Sub. Counsel.      6/11/2018
 15.   Plaintiff’s Second Amended Petition.                                                         6/08/2018
 16.   Unopposed Motion Substitute Counsel for Defendants P. Alleyne, M.D. and C. Gillman, M.D.     6/05/2018
 17.   Proposed Order                                                                               6/05/2018

                                                                                                Exhibit “A”
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18.   Order signed Motion to Substitute Counsel Defendants Chang, Chen, Henderson and H. Patel.   5/14/2018
19.   Unopposed Motion Substitute Counsel.                                                        5/08/2018
20.   Proposed Order.                                                                             5/08/2018
21.   Plaintiff’s First Amended Petition.                                                         4/26/2018
22.   Defendant Dharmesh Patel, M.D.’s Original Answer.                                           4/24/2018
23.   Notice of Hearing – Motion to Withdraw.                                                     4/18/2018
24.   Trial Preparation Order.                                                                    4/05/2018
25.   Docket Control Order.                                                                       4/05/2018
26.   Rule 11 – Stipulation Joinder and Protective Order.                                         4/03/2018
27.   Defendant Michael Chang’s Original Answer.                                                  2/26/2018
28.   Defendant Quang Henderson’s Original Answer.                                                2/26/2018
29.   Order signed granting Agreed Stipulation and Protective Order.                              2/05/2018
30.   Proposed Order. – Stipulation and Protective Order.                                         1/31/2018
31.   Defendant Setul G. Patel’s Original Answer.                                                 1/24/2018
32.   Defendant Hitesh Patel’s Original Answer.                                                   1/24/2018
33.   Citation served on M. Chang, M.D.                                                           1/19/2018
34.   Defendants’ (Alleyne, Chen, Gilman & Neighbors) Original Answer.                            12/26/2017
35.   Defendant Neighbors’ Original Answer, Jury Demand and Request for Disclosure.               12/22/2017
36.   Citation served on Setul G. Patel, M.D.                                                     12/22/2017
37.   Citation served on Hitesh Patel, M.D.                                                       12/14/2017
38.   Citation served on Andy Chen, M.D.                                                          12/08/2017
39.   Citation served on Cyril Gillman, M.D.                                                      12/06/2017
40.   Citation served on Paul Alleyne, M.D.                                                       12/05/2017
41.   Citation served on Neighbors GP LLC.                                                        12/05/2017
42.   Citation served on Neighbors Health System, Inc.                                            12/05/2017
43.   Citation served on Neighbors Health LLC.                                                    12/05/2017
44.   Citation served on Neighbors Investment Group LLC.                                          12/05/2017
45.   Plaintiff’s Original Petition.                                                              10/30/2017
46.   Temporary Restraining Order and Order Setting Hearing for Temporary Injunction.             10/30/2017
47.   Plaintiff’s Motion for Expedited Discovery.                                                 10/30/2017
48.   Proposed Order.                                                                             10/302017
